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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


NETLIST, INC.,                          )
                                        )
            Plaintiff,                  )
                                        )   Case No. 2:22-cv-293-JRG
      vs.                               )
                                        )   JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;            )   (Lead Case)
SAMSUNG ELECTRONICS AMERICA,            )
INC.; SAMSUNG SEMICONDUCTOR             )
INC.,                                   )
                                        )
            Defendants.                 )

NETLIST, INC.,                          )
                                        )
            Plaintiff,                  )
                                        )
                                            Case No. 2:22-cv-294-JRG
      vs.                               )
                                        )
                                            JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.;                )
MICRON SEMICONDUCTOR                    )
PRODUCTS, INC.; MICRON                  )
TECHNOLOGY TEXAS LLC,                   )
                                        )
            Defendants.                 )


    PLAINTIFF NETLIST INC.’S OPENING CLAIM CONSTRUCTION BRIEF
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I.     The “rank” terms1

       There are two areas of dispute. Netlist maintains that: (1) a “rank” cannot constitute a single

memory device and (2) a “rank” of DDR memory devices corresponds to a fixed (i.e., non-variable)

bit-width. That is particularly true for the ’912 patent claims, which specify “memory modules” with

“ranks” of “DDR memory devices.” At the time of the ’912 patent, and today, memory modules

composed of DDR memory devices arranged in ranks are a standardized class of format defined by

JEDEC specifications. The ’215 and ’417 patents are CIPs of the ’912 patent, have a different

disclosure, and do not specify “DDR memory devices” in the claims, but also include claims specifying

“ranks” consistent with Netlist’s proposed constructions.

       A.      “memory module . . . comprising,” “first number of DDR memory devices
       arranged in a first number of ranks” and “second number of DDR memory devices
       in a second number of ranks” (’912 patent)

 Netlist’s Construction                                         Defendants’ Construction

 A “rank” of “DDR memory devices” is “a predetermined           “rank” means “an independent set of
 group of DDR memory devices on a memory module                 one or more memory devices on a
 that can send or receive a fixed number of data bits via a     memory module that act together in
 fixed width data bus, in response to a read or write           response to command signals, including
 command and independently from other DDR memory                chip-select signals, to read or write the
 devices on the memory module.”                                 full bit-width of the memory module.”

                 1.     In the context of the ’912 patent, a POSITA would not understand a
                        single memory device to constitute a “rank.”

       The ’912 patent claims recite a memory module comprised of “ranks” of double-data-rate

(“DDR”) memory devices. E.g., Ex. 1 (’912), p. 45, 3:13-16 (“the plurality of DDR memory devices

having a first number of DDR memory devices arranged in a first number of ranks”). “DDR” refers

to a specific type of memory that is standardized by JEDEC. Ex. 4 (Stone Tr.), 21:20-22:12 (“There

was a JEDEC standard by that date [2005] for DDR, yes.”); Ex. 1 (’912), p. 28, 12:39-43 (“Table 3A



       1
           All emphases are added unless otherwise indicated.



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provides the numbers of rows and columns for DDR-1 memory devices, as specified by JEDEC

standard JESD79D, ‘Double Data Rate (DDR) SDRAM Specification,’ published February 2004, and

incorporated in its entirety by reference herein.”). The term “rank” is also a JEDEC-defined term.

See Ex. 12 at 2 (Micron brand Crucial: “The term rank was created by JEDEC”).

          A POSITA at the time of the invention of the ’912 patent reading the specification would have

understood that a “rank” of “DDR memory devices” necessarily included more than one DDR

memory device. The JEDEC standards in effect at the time provided for DDR memory devices having

bit-widths of 4, 8, or 16 bits. Ex. 7 at 5 (DDR-1 standard JESD79 “defin[ing] the minimum set of

requirements for JEDEC-compliant 64M x4/x8/x16 DDR SDRAMs”) 2 ; Ex. 8 at 7-8 (DDR-2

standard JESD79-2 specifying x4, x8, and x16 device configurations). Under Defendants’ own

construction, a “rank” of memory devices needs to read or write the “full bit-width of the memory

module.” JEDEC-standard memory modules at the time of the invention were 64 or 72-bits wide.

See, e.g., Ex. 9 at 6 (“DIMM organization” “x72 ECC, x64”). To achieve the “full-bit-width” of a

JEDEC-standard memory module—as required by Defendants’ construction of “rank”—a POSITA

would know that multiple 4-bit, 8-bit, or 16-bit DDR/DDR2 memory devices would be required, e.g.,

sixteen 4-bit devices, eight 8-bit devices, or four 16-bit devices per rank for a 64-bit wide memory

module. Micron’s expert Dr. Stone admitted that JEDEC standards defined DDR devices, that at the

time of the invention modules of JEDEC-defined DDR devices were 64 or 72 bits wide, and as a

result required multiple DDR memory devices in each rank:

          Q. JEDEC defines DDR memory devices; correct?
          A. That is correct.

Ex. 4 (Stone Tr.), 52:19-21.




2
    “x4” or “by four” refers to the bit-width of the memory device, in this case, four bits.



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         Q. Once JEDEC was created and they began to specify . . . DDR memory devices, the
         width was either 64 or 72; correct?
         A. In the DDR and the DDR2 standards, the widths are 64 and 72, that is correct.
         Q. Okay. And for widths of 64 and 72 that, in the context of JEDEC DDR, a rank is
         always more than one chip?
         THE WITNESS: Again in the past it has been more than one chip and –

Id., 46:23-47:8 (objection omitted); id., 45:9-19.

         Q. Why isn’t it consistent?
         A. Ranks are -- I'm reading now to 2058. (As read): “Ranks are specific to memory
         modules and refer to a subarray made of multiple components.”
         ...
         Q. And so, in the present and past, rank has always been more than one chip?
         THE WITNESS: In the present and past for this definition of a rank, for this
         definition, it has been more than one chip.

Id., 43:6-11, 44:15-20 (objection omitted); see also id., 48:1-3 (“Q. What does 64 and 72-bits wide mean

-- mean to you in the context of DDR? A. Memory rank.”), 48:25-49:4.

         Dr. Stone admitted that “[a] POSA would believe that these patents were supposed to comply

with JEDEC standards.” Ex. 4 (Stone Tr.), 38:11-19; Ex. 5 (Stone Decl.), ¶ 44. Micron’s

documentation confirms that in JEDEC there is a specific definition of “rank” requiring more than

one DDR memory device in each rank. See Ex. 12 at 2 (reproduced below).




See also, e.g., Ex. 13 at 2-3:




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        In light of the JEDEC specifications in effect at the time of the patent, which require a rank

of either 64 or 72 bits, in light of the fact that JEDEC specifications did not define DDR memory

devices greater than 16 bits, and in light of the specific reference to “DDR memory devices” in the

claim, a POSITA would understand that a “rank” of “DDR memory devices” would necessarily

require more than one memory device in a rank.

        The rest of the ’912 patent specification supports this construction by repeatedly and

consistently referring to “ranks” as multiple memory devices, e.g., with consistent references to plural

“memory devices.” Ex. 1 (’912), p. 28, 12:17-25 (“[I]n certain embodiments, two ranks of memory

devices having a memory density are used to simulate a single rank of memory devices having twice

the memory density….”); id., p. 25, 6:31-38 (“[I]n certain embodiments, the memory devices 30 are

arranged in four ranks, as schematically illustrated by FIG. 1A. In other embodiments, the memory

devices 30 are arranged in two ranks, as schematically illustrated by FIG. 1B. Other numbers of ranks

of the memory devices 30 are also compatible with embodiments described herein.”); see also id., 7:55-

8:43, 8:64-9:18 (logic tables “for the selection among ranks of memory devices 30”); 2:16-17 (“The

DRAM devices of a memory module are generally arranged as ranks or rows of memory . . . .”). The

figures also consistently show multiple DDR memory devices in each rank. See id., Fig. 1A-B, 2A, 3A

(each rank 32, 34, 36 or 38 has multiple devices depicted). Indeed, the ’912 patent specification does

not describe a single embodiment with only one memory device per rank.

        Netlist expects Defendants to argue that the ’912 patent expressly contemplates single-device

ranks based on the following: “In certain embodiments, the command signal is passed through to the

selected rank only (e.g., state 4 of Table 1). In such embodiments, the command signal (e.g., read) is

sent to only one memory device or the other memory device so that data is supplied from one memory

device at a time.” Ex. 1 (’912), p. 26, 8:47-54. However, this passage is referring to sending a command

signal to only one memory device in a “rank” with multiple memory devices. The embodiments



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described with reference to Table 1 refer to transmitting a command signal to one of the multiple

memory devices in the selected rank (i.e., one of at least two memory devices in the rank corresponding

to CS1A). This is because Table 1 is described as “a logic table compatible with certain embodiments

described herein for the selection among ranks of memory devices [plural] 30 using chip-select

signals.” Id., 7:56-59. The “memory devices 30” are consistently described throughout the specification

as part of multi-device ranks. Id., 6:31-38; see also 20:64-65, 22:34-35; Figs. 1A, 1B, 2A, 3A.

        The prosecution history of the ’912 patent also supports Netlist’s construction. During

reexamination, the Examiner allowed claim 16 of the ’912 patent by concluding that the Amidi

reference failed to teach “transmit[ting] a command signal to only one DDR memory device at a time

when there is a plurality of memory devices in a rank.” Ex. 10 at p. 3865-67. The Examiner thus

construed a “rank” as comprising “a plurality of memory devices.” The Requesters challenged the

Examiner’s interpretation and argued that claim 16 could cover embodiments where “‘one memory

device’ encompasses a rank of [one] memory.” Id. at p. 4442. The Board rejected that interpretation

and upheld the Examiner’s finding. Ex. 11 at pp. 79-80. The Federal Circuit confirmed the Board’s

findings. Google LLC v. Netlist, Inc., 810 F. App’x 902 (Fed. Cir. 2020).

        Finally, the extrinsic evidence supports Netlist’s construction. In IPR2022-00063, Samsung

asserted that “[t]he term ‘rank’ should be construed to mean an independent set of memory devices

[plural] that act together in response to a memory command … to read or write the full bit-width of

the memory module.” Ex. 14 at p. 13. As another example, Samsung’s corporate representative on the

topic of JEDEC standardization of memory modules, confirmed that the text on p. 146 of Ex. 15

reflects a JEDEC proposal by Samsung. Ex. 16, 86:18-86:23.




Ex. 15 at p. 146. The witness, who was also the presenter, disagreed that a rank of memory could


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include a single DRAM:

         Q: Sir, this statement is incorrect; the accepted definition of rank in 2007 or 2008 in
         the concept of DRAM memory modules includes a single DRAM; correct?
         A: No, that’s not right.

Ex. 16, 87:1-17 (objections omitted). That testimony comports with the JEDEC evidence discussed

above.

         In the IPRs filed by Samsung and Micron against the ’912 patent, the PTAB tentatively

construed “rank” as requiring one or more devices, but stated that it needed more briefing on the

subject. Ex. 17 at 33 (“We do not view this issue as closed and will continue to consider any additional

argument and evidence on this issue at trial.”). The PTAB made this tentative decision without the

benefit of Dr. Stone’s admissions that in the specific context of DDR devices, a rank will involve more

than one device. Supra, 2-3. The PTAB instead relied on an extrinsic treatise that was misinterpreted

by both Samsung and Micron. Ex. 17 at 30-31 (analyzing Jacob, EX1033). Specifically, the Board

observed that Jacob sets forth two potential definitions of the word “rank”: “(1) a ‘bank’ of one or

more DRAM devices that operate in lockstep in response to a given command”; and (2) “a set of

DRAM devices that operate in lockstep to respond to a given command in a memory system.” Ex. 18

at p. 413. However, Fig. 10.5 mentioned immediately before the first statement shows four devices

per rank. Id.




         Jacob states that because “the word bank has already been used to describe the number of

independent arrays within a DRAM device,” the term “rank” is used “[t]o lessen the confusion.” Id.


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Hence, Jacob provides that “the word rank is now used to denote a set of DRAM devices that operate

in lockstep to respond to a given command.” Id. That is, it is the second statement that conveys the

understanding of the term “rank” at the time of invention. That definition of “rank” mentions only

“a set of DRAM devices,” and hence excludes a single-device “rank.” Jacob later notes that “a DRAM

memory module can be organized as multiple ranks of DRAM devices on the same memory module,

with each rank consisting of multiple DRAM devices.” Id. at p. 421; see also id. at p. 318 (“Each

rank is a set of DRAM devices that operate in unison”); id. at p. 319 Fig. 7.5 (“Each rank is a set of

ganged DRAM devices”).

        Moreover, Jacob’s reference to “operat[ing] in lockstep” would make no sense for a single-

device rank because, in such a rank, there would be no other DRAM devices that operate “in lockstep”

in response to a command. A single-device “rank” is also inconsistent with the rest of Defendants’

construction that requires the memory devices in a rank “act together in response to command

signal” because “act[ing] together” again connotes multiple devices.

                2.      “Ranks” are a pre-determined set of “DDR memory devices” that can
                        output a fixed bit-width.

        The parties disagree about how a POSITA would determine which memory devices on a

memory module belong to a particular “rank.”

        The claims of the ’912 patent make clear which DDR memory devices comprise the “first

number of DDR memory devices arranged in a first number of ranks” depends on the corresponding

output signals. For example, claim 16 requires that the “set of output signals” generated by the

memory module circuit are “configured to control the first number of DDR memory devices arranged

in the first number of ranks.” Ex. 1 (’912), p. 44, 3:13-16, 3:29-31. A POSITA would understand that

a chip-select signal is configured to control ranks of DDR memory devices, e.g., by selecting or

activating a rank during operations. See id., p. 23, 2:35-38. For example, Table 1 provides a logic table




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with states indicating when the rank corresponding to each chip-select signal is selected. Id., p. 27-28,

8:55-9:18; 9:19-43 (describing states where specific ranks are selected based on which chip-select

values are “low,” or active). In Fig. 1A, each rank of memory devices has its own dedicated chip-select

signal lines (e.g., a rank corresponding to CS0A, CS0B, CS1A, CS1B). A POSITA would understand that

“chip-select signals” are used for selecting ranks for operations such as read or write. Ex. 8 at 6 (“CS

provides for external Rank selection on systems with multiple Ranks. CS is considered part of the

command code.”). Thus, each “rank” of DDR memory devices is associated with a unique chip-select

signal and is, in that sense, a “pre-determined” group of memory devices.

        The specification teaches that “[t]he DRAM devices of a memory module are generally

arranged as ranks or rows of memory.” Ex. 1 (’912), p. 23, 2:16-18. Defendants’ construction would

require a “rank” to “read or write the full bit-width of the memory module.” If the full bit-width of

the memory module was not fixed, that would mean that the number of devices in a purported “rank”

could change as the “full bit-width of the memory module” changes. Nothing in the ’912 patent

suggests, however, that a rank of memory devices refers to a group of memory devices that is

dynamically reconstituted to account for the changing memory bit width. To the contrary, Fig. 1A

shows four ranks mounted on a printed circuit board, each rank with its corresponding CS. E.g., id.,

p. 25, 6:31-38; see also Figs. 4A-4B, 5C-5D, 8A-8D, 9A-9B, 10A-10B, 11A-11B. Nor does anything in

the JEDEC standards suggest that a “rank” of memory devices can dynamically change. Indeed,

JEDEC standards at the time indicate that each “rank” is associated with its own chip-select signal

and outputs or receives data via a fixed width data bus such as 64-bit wide or 72-bit wide. Ex. 9 at 12.

        The testimony of Micron’s claim construction expert is on point. Dr. Stone testified that 64

or 72 bits in the context of DDR is the width of a memory rank. See Ex. 4 (Stone Tr.), 48:1-3 (“Q.

What does 64 and 72-bits wide mean -- mean to you in the context of DDR? A. Memory rank.”). Ex.

9 at 5 (JEDEC DDR RDIMM standard specifying fixed 64 or 72-bit width modules), Ex. 19 at 6



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(JEDEC SODIMM standard specifying fixed 64 or 72-bit width modules).

        B.    The use of the term “can” in the phrase “can send or receive” reflects an
        important part of the inventions.

        As discussed above, a “rank” of memory devices can send or receive the full bit-width of the

module (e.g., 64 or 72 bits) in response to read or write commands. Supra, 7-8. But nothing in the

asserted patents requires that all the memory devices in one rank simultaneously send or receive data

under all circumstances. In other words, the asserted patents contemplate “ranks” of memory devices

where a subset of memory devices (e.g., only one memory device) sends or receives data at a time. See,

e.g., Ex. 1 (’912), p. 45, cl. 16. The specification teaches that “[d]uring operations the ranks of a memory

module are selected or activated by control signals that are received from the processor.” Id., p. 23,

2:35-37. It also provides a specific example where, in a multi-device rank, “data is supplied from one

memory device at a time.” Ex. 1 (’912), p. 26, 8:47-54; Ex. 2 (’215), 19:14-19; Ex. 3 (’417), 19:14-19;

supra, 4-5 (explaining that ’912, 8:47-54 is directed to multi-device ranks). Put differently, a POSITA

would understand that a “rank” must have the capability to send or receive the full bit-width of the

memory module, but need not always do so.

        Testimony from Samsung’s IPR expert Dr. Wolfe supports Netlist’s construction. Dr. Wolfe

testified that one would still call something a “rank” if it had the capability to partially output the full

bit-width of the module. Ex. 31, 36:2-10 (“Q. I thought a rank is a collection of DRAMs that respond

to a common memory command simultaneously. That’s not your understanding of what rank is? THE

WITNESS: That is my understanding. But I think in common usage, one would still call something

a rank if it had that capability but also had the capability to do a partial read.” (objection

omitted)), 37:8-14 (“A rank of memory in the way that we ordinarily use that term is capable of

providing an output on a read from every memory die or every memory element in the rank

simultaneously, but we would still in normal usage still call it a rank if it also had the capability




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of only providing a portion of the memory word.”).

          C.      “memory devices mounted on the printed circuit board and arranged in a
          plurality of N-bit wide ranks” (’417 patent)

    Netlist’s Construction                                      Defendants’ Construction

    “a predetermined group of memory devices on a               “rank” means “an independent set of
    memory module that can send or receive a fixed number       one or more memory devices on a
    of data bits via a fixed width data bus, in response to a   memory module that act together in
    read or write command and independently from other          response to command signals, including
    memory devices on the memory module”                        chip-select signals, to read or write the
                                                                full bit-width of the memory module.”

          The term “rank” in the context of the ’417 patent should likewise not be construed to

encompass a single memory device. First, the claim language expressly requires multiple memory

devices in each rank. Ex. 3 (’417), 42:41-47. Dr. Stone admits that the ’417 patent requires JEDEC-

compliant memory modules. Ex. 4 (Stone Tr.), 38:2-39:8 (for the patents-at-issue “A POSA would

believe that these patents were supposed to comply with JEDEC standards”); Ex. 5 (Stone Decl.),

¶ 44. For the reasons explained above, a POSITA would understand a JEDEC-compliant memory

module would require ranks that each comprise more than one memory device. Supra, 1-7.

          Additionally, the term “rank” in the context of the ’417 patent should be construed to require

a predetermined group of memory devices that can output a fixed bit width. The claims of the ’417

patent make clear that which devices constitute a “rank” depends on the corresponding chip-select

signals that control those devices. For example, claim 1 of the ’417 patent requires:

          memory devices mounted on the printed circuit board and arranged in a plurality of
          N-bit wide ranks, wherein the plurality of N-bit wide ranks correspond to
          respective ones of the plurality of registered chip select signals . . .wherein one
          of the plurality of N-bit wide ranks including memory devices receiving the
          registered chip select signal having the active signal value and the other
          registered address and control signals is configured to receive or output a burst of
          N-bit wide data signals in response to the read or write command . . . .

Ex. 3 (’417), 42:41-54. The rank of “memory devices” that receives a chip-select signal having the

“active signal value” is configured to output N-bit wide data signals. Thus, the “ranks” of memory



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devices would be organized in a predetermined group and have a fixed bit-width. Supra, 7-10.

          D.     “plurality of memory integrated circuits mounted on the printed circuit board
          and arranged in a plurality of ranks including a first rank and a second rank” (’215
          patent)

    Netlist’s Construction                                      Defendants’ Construction

    “a predetermined group of memory integrated circuits on     “rank” means “an independent set of
    a memory module that can send or receive a fixed number     one or more memory devices on a
    of data bits via a fixed width data bus, in response to a   memory module that act together in
    read or write command and independently from other          response to command signals, including
    memory integrated circuits on the memory module”            chip-select signals, to read or write the
                                                                full bit-width of the memory module.”

          The term “rank” in the context of the ’215 patent should also not be construed to encompass

a single memory integrated circuit (“IC”). Dr. Stone admits that the ’215 patent requires JEDEC-

compliant memory modules. Ex. 4 (Stone Tr.), 38:2-39:8 (“A POSA would believe that these patents

were supposed to comply with JEDEC standards”); Ex. 5 (Stone Decl.), ¶ 44. A POSITA would

understand a JEDEC-compliant memory module would require ranks of memory integrated circuits

that each comprise more than one memory integrated circuit. Supra, 1-7.

          Claim 1 of the ’215 patent recites, among other things:

          a plurality of memory integrated circuits mounted on the printed circuit board and
          arranged in a plurality of ranks including a first rank and a second rank, the plurality
          of memory integrated circuits including at least one first memory integrated circuit in
          the first rank and at least one second memory integrated circuit in the second rank

Ex. 2 (’215), 37:35-38; 3:32-35. In context, this claim language supports subsequent requirements of a

buffer and logic that can control at least one memory device in the first and second rank. See id., 37:46-

50 (“a buffer coupled between the at least one first memory integrated circuit and the memory bus,

and between the at least one second memory integrated circuit and the memory bus”), 37:51-62 (“logic

coupled to the buffer”). It is not saying that the first and second rank can only have one memory

device in them. The specification is in accord. See, e.g., id., 3:44-61 (describing a “buffer coupled

between the at least one first memory integrated circuit and the memory bus,” as well as “logic”



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configured to provide “control signals to the buffer to enable communication . . . between the at least

one first memory integrated circuit and the memory controller through the buffer”).

        Additionally, the term “rank” in the context of the ’215 patent should be construed to require

a predetermined group of memory devices that can output a fixed bit width. The claims of the ’215

patent make clear that which devices constitute a “rank” depends on the chip-select signals that

control those devices. For example, claim 1 of the ’215 patent requires that “the first rank is selected

to receive or output the first data burst in response to the first memory command.” Ex. 2 (’215), 37:32-

50. As noted above, chip-select signals are used to select or activate a rank for operation. Supra, 1-9.

A POSITA would thus understand that the “ranks” of memory devices would be organized in a

predetermined group and have a fixed bit-width. Id.

II.     “signal” / “row[/column] address signal” (’912, all claims)

        The claims of the ’912 patent require certain components to receive input “signals” from the

computer system, with modifiers describing the type of signals to be received, for example, a “row

address” signal or a “column address” signal. E.g., Ex. 1, p. 43, 1:34-38 (claim 1: logic element receives

“a set of input control signals . . . comprising at least one row/column address signal, bank address

signals, and at least one chip-select signal”). Defendants, relying on a 15-year-old, agreed-to

construction of the term “signal” from previous litigation involving the ’912 patent, apparently intend

to argue that “signal” should be broadly construed to encompass packetized control and address

information to the memory module that is then decoded by on-module logic into discrete output

signals. In the N.D. Cal. litigation involving the ’912 patent, Netlist agreed that the term “signal”

means “a varying electrical impulse that conveys information from one point to another.” Ex. 21 at 7.

There was no discussion in the 15-year-old construction of the “packetized” theory.

        The claims of the ’912 patent recite a memory module that receives discrete control and

address “signals,” not packetized information. As Fig 1A of the ’912 patent shows, each type of signal



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is associated with its own discrete line, e.g., a chip-select line for input chip-select signals. See also Ex.

1 (’912), p. 8-9, Figs. 2A, 3A. No construction is needed for the jury to understand what a “signal” is,

nor what a “row address” or “column address” signal is. The ’912 specification also consistently refers

to “signals” as discrete, non-packetized types:

        As schematically illustrated by FIGS. 1A and 1B, in certain embodiments, the logic
        element 40 receives a set of input control signals, which includes address signals (e.g.,
        bank address signals, row address signals, column address signals, gated column
        address strobe signals, chip-select signals) and command signals (e.g., refresh,
        precharge) from the computer system. . . .

        The memory module 10 receives row/column address signals or signal bits (A0-An+1),
        bank address signals (BA0-BAm), chip-select signals (CS0 and CS1), and command
        signals (e.g., refresh, precharge, etc.) from the computer system. The A0-
        An row/column address signals are received by the register 60, which buffers these
        address signals and sends these address signals to the appropriate ranks of memory
        devices 30. The logic element 40 receives the two chip-select signals (CS0, CS1) and
        one row/column address signal (An+1) from the computer system. Both the logic
        element 40 and the register 60 receive the bank address signals (BA0-BAm) and at
        least one command signal (e.g., refresh, precharge, etc.) from the computer system.

Ex. 1 (’912), p. 25, 7:39-53, p. 24, 6:55-63; see also id. Table 1 and 8:19-43 (description of Logical States

based on values asserted on CS0, CS1, An+1, and Command lines).

        Micron’s expert claims that “[a] POSA would believe that these patents were supposed to

comply with JEDEC standards.” Ex. 4 (Stone Tr.) 38:2-39:8. The claims are limited to “DDR”

memory devices, which refers to “double-data rate,” a type of memory standardized by JEDEC. See,

e.g., Ex. 1 (’912), p. 28, 12:38-44 (incorporating by reference JEDEC DDR standard); Ex. 5 (Stone

Decl.), ¶ 44; supra at 2-3. In JEDEC, each bus “is dedicated to handle only its designated function.”

Samsung’s expert Dr. Wolfe agreed that the JEDEC standards do not feature packetized control and

address input signals. Ex 22, 28:8-16 (“Q. And in the – in the traditional DIMM, is the multiplex

control and address information demuxed from the data? . . . . No, not in a traditional DIMM that it

would be compliant with JEDEC Standard 21-C [Ex. 9]. It would not have that characteristic.”).




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III.    “in response” (’912, claims 1, 15, 28, 39, 77, 80, 82, 86, 88, 90)

        Amended claim 1 of the ’912 patent is representative of the parties’ dispute. Claim 1 requires

a memory module comprising a circuit with a “logic element,” wherein:

        the logic element generates gated column access strobe (CAS) signals or chip-select
        signals of the output control signals in response at least in part to (i) the at least one
        row address signal, (ii) the bank address signals, and (iii) the at least one chip-select
        signal of the set of input control signals and (iv) the PLL clock signal.

Ex. 1 (’912), p. 44, 2:11-18. The defendants would like to insert “all four of” before the enumerated

signals. During meet and confer, counsel for Defendants suggested that the “in response” terms

require the logic to “use” all four input signals as inputs to logic equations used to generate the output

signals. There is no basis in the intrinsic record for such a limitation.

        The claims simply require that the “logic element” generate output CAS or chip-select (“CS”)

signals “in response, at least in part” to the enumerated input signals. The claims do not require and

the specification does not suggest that all four signals must be “used” to generate the output CAS or

CS signals, as Defendants apparently interpret. For example, in Table 4, the first and third rows show

examples where the logic element generates chip-select signals “in response” to bank address signals

(signal ii), even though the bank address signals are not used as the density transition bits in the

translation logic. Likewise, the second row shows an example where the translation logic equation uses

bank address signals, but not row address signals. Ex. 1 (’912), p. 28, 12:66-13:25 (Table 4 lists density

transition bits for memory device transitions listed in 3B), 12:29-32 (logic element 40 of “utilizes

implied translation logic equations having variations depending on whether the density transition bit

is a row, column, or internal bank address bit”).

Furthermore, the claims do not require the

enumerated signals to necessarily be inputs to

translation logic equations. For example, the input signal (e.g., the clock signal) may affect the timing




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of the output signal generation, resulting in the output signal being in response to the recited signal.

IV.     “A memory module connectable to a computer system, the memory module
        comprising” (’912, preamble to all asserted claims)

        The preamble of the ’912 claims is limiting. “[A] preamble limits the invention if it recites

essential structure or steps, or if it is ‘necessary to give life, meaning, and vitality’ to the claim.” Catalina

Mktg. Int’l, Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002). In Samsung I, the Court found

that the preamble (“a memory module”) of similar claims was limiting because “a skilled artisan would

understand a ‘memory module’ is distinct from, and has essential structural requirements not

necessarily found in, other modular computer accessories,” including structure necessary to connect

to a memory controller. Ex. 6 at 29. The ’912 specification emphasizes that the memory module is

connectable in a computer system to a memory controller. Ex. 1 (’912), p. 28, 11:43-47, p. 32, 19:67-

20:56, p. 33, 22:22-24; Figs. 1A/1B, 2A, 3A (depicting signal lines from memory controller). Samsung’s

expert in the ’912 IPR testified that at the time of the invention a “memory module” would have been

understood to go into a “dedicated memory slot in a computer system and not a general-purpose IO

slot,” as distinct from other modular components such as a PCI card. Ex. 22, 100:22-101:8.3

V.      “logic” (’417, claim 1; ’215, claims 1 and 21)

        A.        The “logic” terms are not subject to § 112, ¶ 6.

        Micron contends that the “logic” limitations of ’215 claim 1 and ’417 claim 1 are subject to

§ 112, ¶ 6. Ex. 5 (Stone Decl.), ¶ 32. The relevant claim language is reproduced below.

        ’215 claim 1: logic . . . configured to respond to the first memory command by
        providing first control signals to the buffer to enable communication of the first data
        burst between the at least one first memory integrated circuit and the memory
        controller through the buffer, wherein the logic is further configured to respond to
        the second memory command by providing second control signals to the buffer to
        enable communication of the second data burst between the at least one second
        memory integrated circuit and the memory controller through the buffer.


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            For similar reasons, the preamble of the ’608 patent is limiting. See Ex. 32, 19:14-18.



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        ’417, claim 1: logic . . . configurable to receive a set of input address and control signals
        associated with a read or write memory command via the address and control signal
        lines and to output a set of registered address and control signals in response to the
        set of input address and control signals, . . . the logic is further configurable to output
        data buffer control signals in response to the read or write memory command.

        The “logic” terms, which do not use “means,” are not subject to § 112, ¶ 6. “[T]he failure to

use the word ‘means’ . . . creates a rebuttable presumption . . . that § 112, para. 6 does not apply.”

Williamson v. Citrix Online LLC, 792 F.3d 1339, 1348-49 (Fed. Cir. 2015) (en banc). “In the absence of

the word ‘means,’” Micron bears the burden of demonstrating “by a preponderance of the evidence

that the [‘logic’ limitation] fails to recite sufficiently definite structure.” Dyfan, LLC v. Target Corp., 28

F.4th 1360, 1370-71 (Fed. Cir. 2022). Micron cannot meet that burden here.

        Courts in this district have repeatedly “concluded that in many instances the word ‘logic,’ like

‘circuit’ or ‘processor,’ may connote sufficiently definite structure and is not a “nonce” or “functional”

word that is subject to the limitations of § 112 ¶ 6.” CDN Innovations, LLC v. Grande Commc’ns Networks,

LLC, 2021 WL 3615908, at *11 (E.D. Tex. Aug. 13, 2021) (collecting cases); CA, Inc. v. Netflix, Inc.,

2021 WL 5323413, at *21 (E.D. Tex. Nov. 16, 2021); Sonrai Memory Ltd. v. Oracle Corp., 2022 WL

800730, at *9 (W.D. Tex. Mar. 16, 2022) (Yeakel, J.) (finding that “logic” in the context of computer

memory patents provided sufficient structural meaning in light of the claims and specification and

distinguishing Egenera, Inc. v. Cisco Sys., Inc., 972 F.3d 1367 (Fed. Cir. 2020), on that basis).

        Here, the specifications of the ’215 and ’417 patents make clear that the term “logic,” as used

in the claims of those patents, is not a nonce term. For example, the specifications teach that a logic

element may be “selected from a group consisting of: a programmable-logic device (PLD), an

application-specific integrated circuit (ASIC), a field-programmable gate array (FPGA), a custom-

designed semiconductor device, and a complex programmable-logic device (CPLD)” or may be “a

custom device.” Ex. 2 (’215), 6:36-48; Ex. 3 (’417), 9:54-10:4. Micron’s expert Dr. Stone admits that

POSITAs would be familiar with the structure and operation of logic elements like ASICs and CPLDs.



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See Ex. 5 (Stone Decl.), ¶ 21 (POSITA would have been familiar with “have been familiar with the

structure and operation of circuitry used to access and control computer memories, including

sophisticated circuits such as ASICs and CPLDs.”). Dr. Stone confirmed at deposition that “logic”

has structure, e.g., transistors. Ex. 4 (Stone Tr.), 9:3-8 (“[Q.] You understand that logic has gates,

sometimes referred to as transistors, AND, OR, XOR, NOT, NAND, NOR, and XNOR? A. I am

familiar -- 09:08 THE WITNESS: Okay. I am familiar with this.” (objection omitted)). Dr. Stone also

admitted that “[l]ogic includes circuitry with state and circuitry without state,” and that “circuitry with

state and circuitry without state” are “actual structures.” Id., 16:25-17:14 (“[Q.] Logic includes circuitry

with state and circuitry -- circuity without state? A. Yes. Logic -- computer logic[] may have state and

may not have state. Q. And circuitry with state and circuitry without state, those are actual structures;

right? You can go to textbooks and look those up. Those are actual structures.” (objections omitted)).

Dr. Stone also defined “computer logic” as “circuitry that performs Boolean operation.” Id., 11:6-22;

see also id., 10:17-21 (“Logic circuitry is circuitry that performs a Boolean logic.”). He also confirmed

that he could examine a circuit and determine if it was logic. Id., 17:21-18:3 (“[Q.] I'm asking it in the

opposite way, which is that, you can go and look and physically see if the circuitry is logical circuitry;

circuitry with state and circuitry without state? A. I can. If -- if I have all of the information available

to me, I can make that determination.”). And Micron’s co-defendant Samsung does not contend that

the “logic” terms lack structure. See Dkt. 94-2 at 19-20, 33-34.

        The patents also teach that “[i]n certain embodiments, the PLD 42 use sequential and

combinatorial logic procedures ….” Ex. 2 (’215), 29:61-30:3. Samsung’s IPR expert, Dr. Wolfe, agreed

that a POSITA would have been familiar with sequential and combinatorial logics. Ex. 22, 117:8-

119:18 (noting e.g., “sequential logic” “describes a combination of logic functions and registers,”

“combinatorial logic” generally refers to logic without storage units and without requiring clock).

        Finally, even if the court determines that the “logic” terms are subject to § 112, ¶ 6, the terms



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are not indefinite because the specification discloses sufficient structure for performing the claimed

function. See, e.g., Ex. 3 (’417), 3:50-52, 4:1-6, 4:23-29, 7:17-31 (logic is PLD, ASIC, FPGA, or CPLD),

7:32-35, 9:37-10:4, 15:33-40, 16:36-59, 17:6-9, 17:65-18:3, 22:49-56, 34:34-44, Figs. 5A-5D, 9A-9B,

Verilog examples 1-3 (describing physical hardware structures that perform logic functions). Micron’s

expert Dr. Stone contends that the claims are indefinite because there is no corresponding disclosure

of logic providing control signals to the data buffer. Ex. 5, ¶ 37 (asserting specification does not

disclose structure for logic “providing [] control signals to the buffer to enable communication of the

[] data burst” of ’215 claim 1), ¶ 40 (similar argument for ’417 claim 1). Contrary to Dr. Stone’s

assertion, the specification discloses structure for performing this function. See e.g., Ex. 3 (’417), 7:32-

35 (“In certain embodiments, the circuit 40 further comprises one or more switches which are

operatively coupled to the logic element to receive control signals from the logic element.”); 7:17-

31 (logic is PLD, ASIC, FPGA, or CPLD), 9:37-10:4, 34:34-44.

           B.     The “logic” terms are not limited to “fork-in-the-road.”

           Samsung contends that the “logic” terms of ’215 claims 1 and 21 are subject to what the parties

have previously referred to as a “fork-in-the-road,” where one data signal line between the buffer and

the first rank of memory ICs is enabled (i.e., along a first “prong” of the “fork”) while a second data

signal line between the buffer and the second rank of memory ICs is disabled (i.e., along a second

“prong” of the “fork”):

    Term                                      Samsung

    “logic coupled to the buffer and          “logic coupled to the buffer and configured to respond
    configured to respond to the first        to the first memory command by providing first
    memory command by providing first         control signals to selectively electrically couple the
    control signals to the buffer to enable   input of the buffer to a first data signal line at the
    communication of the first data burst     output of the data buffer to enable communication of
    between the at least one first memory     the first data burst between the at least one first
    integrated circuit and the memory         memory integrated circuit and the memory controller
    controller through the buffer”;           through the buffer, and disabling a second data
                                              signal line at the output of the buffer connected to



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    (’215, claim 1)                           the second memory integrated circuit”




    “wherein the logic is further             “wherein logic is further configured to respond to the
    configured to respond to the second       second memory command by providing second
    memory command by providing               control signals to selectively electrically couple the
    second control signals to the buffer to   input of the buffer to a second data signal line at
    enable communication of the second        the output of the data buffer to enable
    data burst between the at least one       communication of the second data burst between the at
    second memory integrated circuit and      least one second memory integrated circuit and the
    the memory controller through the         memory controller through the buffer, and disabling
    buffer, the second control signals        a first data signal line at the output of the buffer
    being different from the first control    connected to the first memory integrated circuit”
    signals”; and

    (’215, claim 1)

          Should the inventors have desired to import such limitations from the specification, they

would have done so. For example, U.S. 9,037,774 in the same family recites isolating one set of DQ

and DQS signals when another set is being used for receiving or outputting data. E.g., Ex. 28 (’774

patent), 42:5-8 (“circuit . . . isolates the second set of module DQ and DQS signal lines from the data

bus as the memory module is receiving or outputting the first data burst”). The ’215 and ’417 patents

do not impose such “isolat[ion]” requirements. And because the claims impose no such requirements,

Samsung’s evidence is also inapposite because it involves different patents that use different claim

language such as “selectively coupling” or “selectively isolating.” Ex. 24 (’150 patent), 41:40-43 (cl. 1:

“wherein the circuit is configurable to be responsive to the set of input signals by selectively isolating

one or more loads of the DDR memory devices from the computer system”); 42:58-63 (cl. 15

“selectively electrically coupling”); 43:51-54 (cl. 22); 44:46-50 (cl. 31); Ex. 25 (’536 patent), 41:28-39

(cl. 1: “the circuit including at least one configuration in which the circuit is configured to . . .




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selectively isolate a load of the DDR memory circuits of at least one rank of the first number of

ranks from the computer system in response at least in part to the set of signals”); 43:33-36 (cl. 24);

44:56-60 (cl. 38). The claims of the ’215 patent, by contrast, do not use the “selectively coupling” or

“selectively isolating” language. Samsung’s attempt to redraft the claims should be rejected, and the

evidence it relies upon actually supports Netlist’s position—i.e., the patentee knew how to claim the

“fork-in-the-road” arrangement and chose not to do so here.

        Claim 1 of the ’215 patent is clear that the first memory integrated circuit in the first rank is

selected to receive or output a first data burst in response to the first memory command, and that the

second rank is not selected to receive or output data in response to the first memory command. But

not selecting one rank to receive or output data is not the same as disabling a data signal line. The

“logic” limitation simply provides further detail regarding how the data is transmitted through the data

buffer to the selected rank of memory devices, i.e., by using on-buffer logic that provides control

signals to the buffer to “enable communication” of the first data burst in response to the first memory

command, or the second data burst in response to the second memory command. Ex. 2 (’215), 37:31-

62.

        The specification likewise explains that the on-buffer logic provides control signals to the

buffer to “enable communication” in response to a first or second memory command, with no

requirement that the data path for the non-selected rank be disabled. Ex. 2 (’215), Abstract, 3:44-61.

While certain embodiments describe load isolation through “selectively coupling”/“selective

isolation” of the memory devices from the memory controller, those features are not claimed here.

Nor are those the only embodiments. Figs. 8A and 8B, for example, do not have switches that isolate

the DQ lines of rank a and rank b, which are both connected to the same common DQ signal line

112, and thus is not a “fork-in-the-road” arrangement. See id., Figs. 8A-8B. A claim construction that

excludes preferred embodiments is “rarely, if ever, correct.” Kaufman v. Microsoft Corp., 34 F.4th 1360,



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1372 (Fed. Cir. 2022).

VI.     “circuitry” (’417, claims 1, 6, 11)

        A.       The “circuitry” terms are not subject to § 112, ¶ 6.

        Micron contends that certain limitations that recite “circuitry” are subject to § 112, ¶ 6:

        1) “circuitry . . . configurable to transfer the burst of N-bit wide data signals between the N-
           bit wide memory bus and the memory devices in the one of the plurality of N-bit wide
           ranks in response to the data buffer control signals” (’417, cl.1);

        2) “circuitry includes logic pipelines configurable to enable the data transfers between the
           memory devices and the memory bus through the circuitry” (’417, cl. 6);

        3) “circuitry is configurable to enable the data paths in response to the data buffer control
           signals so that the burst of N-bit wide data signals are transferred via the data paths” (’417,
           cl. 11).

Ex. 5 (Stone Decl.), ¶ 52. Micron also contends the terms are indefinite because there is no

corresponding structure in the specification. Id., ¶¶ 55-57. Micron’s arguments should be rejected.

        First, “circuitry” is not a nonce term. The Federal Circuit has “previously held on several

occasions that the term ‘circuit’ connotes structure” such that § 112, ¶ 6 does not apply. Power

Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 711 F.3d 1348, 1364-65 (Fed. Cir. 2013) (citing MIT v.

Abacus Software, 462 F.3d 1344, 1355 (Fed. Cir. 2006), Linear Tech. Corp. v. Impala Linear Corp., 379 F.3d

1311, 1320-21 (Fed. Cir. 2004), and Apex Inc. v. Raritan Computer, Inc., 325 F.3d 1364, 1373 (Fed. Cir.

2003)). For example, in Apex, the Federal Circuit concluded that the term “circuit” recited sufficient

structure in the context of the claims at issue. 325 F.3d at 1372-73 (considering the use of the term

“circuit” in the claim limitation “a first interface circuit for receiving keyboard and cursor control

device signals from the workstation”). The court observed that “the term ‘circuit’ with an appropriate

identifier such as ‘interface,’ ‘programming’ and ‘logic,’ certainly identifies some structural meaning to

one of ordinary skill in the art.” Id.

        Here too, the claims identify “circuitry” with certain structural meaning to one of ordinary

skill in the art—i.e., a combination of a number of electrical devices and other components that can


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be interconnected to transmit data. For example, claim 1 describes circuitry “coupled between the

data signal lines in the N-bit wide memory bus and corresponding data pins of memory devices in

each of the plurality of N-bit wide ranks. . . .” Ex. 3 (’417), 42:54-57. Claim 6 identifies “circuity” that

“includes logic pipelines configurable to enable the data transfers between the memory devices

and the memory bus through the circuitry.” Id. at 43:19-22. Claim 11 identifies “circuitry” that

“includes data paths” and modifies the circuitry to be “configurable to enable the data paths in

response to the data buffer control signals . . . .” Id. at 44:9-14. Thus, section 112, ¶ 6 does not apply

where, as here, “the structure-connoting term [circuitry] is coupled with a description of the circuit’s

operation.” Linear Tech., 379 F.3d at 1320 (claim reciting “a first circuit for monitoring a signal from

the output terminal to generate a first feedback signal” did not require § 112, ¶ 6 treatment because

“[t]he contextual language describes the objective of the ‘circuit’ . . . and the desired output of the

‘circuit’”); see also Estech Sys., Inc. v. Target Corp., 2021 WL 1090747, at *24 (E.D. Tex. Mar. 21, 2021).

(“Like the claim-recited ‘detector’ in Personalized Media and the claim-recited ‘circuit’ in Linear Technology,

the ‘circuitry’ terms here provide sufficiently definite structure to maintain the presumption against

§ 112, ¶ 6. Notably, the term ‘circuitry’ itself connotes a broad class of structures.”).

        Extrinsic evidence supports Netlist’s position. The word “circuit” or “circuity” is a well-known

term in electronics that connotes structure, such as an “[a]rrangement of conductors and passive and

active components forming a path, or paths, for electrical current.” Ex. 29 (Chambers Dictionary of

Science and Technology, 2007) at 224. Other contemporaneous dictionary definitions are in accord.

See, e.g., Ex. 30 (Comprehensive Dictionary of Electrical Engineering, 2005) at 4 (defining “circuit” as

“a physical device consisting of an interconnection of elements . . . . For example, an electric circuit

may be constructed by interconnecting a resistor and a capacitor to a voltage source.”); Ex. 20

(Dictionary of Computing, 2008) at 3 (defining “circuit” as “[t]he combination of a number of

electrical devices and conductors that, when interconnected to form a conducting path, fulfill some



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desired function”). Micron’s expert Dr. Stone does not cite any of these well-known definitions, so

his testimony should be afforded little weight. Ex. 5 (Stone Decl.), ¶¶ 50-57. In fact, Micron’s expert

Dr. Stone previously testified that a “circuit” is “a collection of electrical components connected

together in some fashion,” Ex. 23, 23:9-17, which requires structure. And Micron’s co-defendant

Samsung does not contend that the “circuitry” terms lack structure. See Dkt. 94-2 at 15-19.

           Even if subject to § 112, ¶ 6, the “circuitry” terms are not indefinite because the specification

discloses sufficient corresponding structure. For example, with respect to the circuitry for transferring

data bursts, the patents provide corresponding structures in Figs. 3A-3B, 4A-4B, 5A-5D, 8A-8D and

their accompanying descriptions, as well as Verilog code example 1. See, e.g., Ex. 3 (’417), 8:10-10:4

(describing structural features of buffer circuitry illustrated by Figs 3A-5D); 10:58-13:23 (Verilog code

example defining physical hardware structures that provide load isolation to DQ and DQS lines);

14:37-15:61 (describing structural features of buffer circuitry illustrated by Figs. 8A-8D, including

potential use of FET switches or multiplexers). Similarly, with respect to circuitry providing logic

pipelines, the patents provide corresponding structures such as ASIC, PLD, CPLD, FPGA, sequential

and combinatorial logics. See, e.g., id., 9:37-10:4. Thus, contrary to Dr. Stone’s assertions, the ’417

specification describes corresponding structure for the circuitry limitations. See Ex. 5 (Stone Decl.),

¶ 55. Thus, even if “circuitry” is construed as a 112, ¶ 6 term, the claims encompass those disclosed

structures and their equivalents.

           B.      Samsung’s construction of “circuitry” should be rejected.

           Samsung, while not contending the “circuitry” limitations are subject to § 112, ¶ 6, would

construe the terms to introduce the “fork-in-the-road” concept explained above. Samsung’s

construction would improperly import 60+ words into the plain language of claim 1:

    Term                                       Samsung

    “circuitry coupled between the data        “a data buffer coupled between the data signal lines in



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    signal lines in the N-bit wide memory      the N-bit wide memory bus and corresponding data
    bus and corresponding data pins of         pins of memory devices in each of the plurality of N-
    memory devices in each of the              bit wide ranks, the buffer configurable to selectively
    plurality of N-bit wide ranks, the         electrically couple a single data signal line at the
    circuitry being configurable to transfer   input of the buffer to a first signal line and second
    the burst of N-bit wide data signals       signal line at the output of the buffer to transfer N-
    between the N-bit wide memory bus          bit wide data signals between the N-bit wide memory
    and the memory devices in the one of       bus and the memory devices in the one of the
    the plurality of N-bit wide ranks in       plurality of N-bit wide rank, wherein each signal
    response to the data buffer control        line at the output of the buffer is connected to a
    signals”                                   different N-bit wide rank.”

          The plain language of the claims does not require the first rank and second rank of memory

integrated circuits to be on different “forks,” as Samsung’s construction contemplates. Furthermore,

as discussed with respect to “logic,” the specification includes unclaimed embodiments with a “fork-

in-the-road” configuration, but those embodiments are only exemplary. Supra, 18-20. Nor does the

prosecution history or any extrinsic evidence necessitate the court import aspects of those example

embodiments into the claims, as Samsung attempts to do.

VII.      “the at least one of the circuit components” (’215, claim 15)

          Netlist and Samsung agree that this term should be given its plain and ordinary meaning. Dkt.

94-1 at 73; Dkt. 94-2 at 43. Micron contends that the term is indefinite, apparently for lack of

antecedent basis. Dkt. 94-3 at 53. The term “the at least one of the circuit components” is not

indefinite because it refers to the “circuit components” of buffers disclosed in claim 14, which claim

15 depends on. See Ex. 2 (’215), 39:24-33. The plain language of claim 14 requires that the “circuit

components” be configurable to provide a “first data path” or a “second data path,” and claim 15

further requires that the “circuit components” do so in response to “first[/second] control signals.”

The fact that claim 15 uses “at least one” to refer to the “circuit components” is of no moment, since

the recitation of “circuit components” in claim 14 is the only reference to that term in the dependency

chain. Gree, Inc. v. Supercell Oy, 2020 WL 2332144, *34 (E.D. Tex. May 11, 2020) (rejecting indefiniteness

argument for lack of antecedent basis where claim 1 recited “the frame” and dependent claim 2



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required “the display to move first frame” because “there is only one frame in the dependency chain

and there is only one frame for which a slide operation is identified”).

VIII. “burst of data strobe signals” (’215, claims 12, 13, 28, 29)

        Netlist and Samsung agree that “burst of data strobe signals” should be given its plain and

ordinary meaning. Dkt. 94-1 at 65; Dkt. 94-2 at 42. Micron contends the term is indefinite because

the term is supposedly susceptible to two different meanings. See Ex. 5 (Stone Decl.), ¶¶ 46-49. Courts

have expressly rejected that approach. The test for indefiniteness is whether the claims inform a

POSITA “about the scope of the invention with reasonable certainty.” Nautilus, Inc. v. Biosig Instruments,

Inc., 572 U.S. 898, 908-910 (2014) (declining to adopt a test rendering a patent invalid “when a claim

is ‘ambiguous, such that readers could reasonably interpret the claim’s scope differently’”). In

other words, “[t]he test is not merely whether a claim is susceptible to differing interpretations.” Nevro

Corp. v. Boston Sci. Corp., 955 F.3d 35, 41 (Fed. Cir. 2020). Micron’s argument lacks merit.

        A “strobe signal” is generally a signal that indicates that another signal, e.g., data, is present

and valid, and can be used to accurately time the transmission of data throughout the module. Ex. 18

at 318 n.1; Ex. 4, 78:20-23 (Dr. Stone explaining that “[t]he data is timed to start appearing after the

strobe”). The specification teaches that in DDR SDRAM—the prevalent memory technology at the

time of the invention—“memory devices operate with a data transfer protocol which surrounds each

burst of data strobes with a pre-amble time interval and a post-amble time interval,” for example, as

depicted in Fig. 6A. Ex. 2 (’215), 11:38-57.




                          Ex. 26 (’215 patent, Ex. 12 to Stone Depo.) at 18.


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        Micron’s expert opines that that “burst of data strobe signals” could mean a set of

consecutively transmitted strobe signals originating from (1) two different memory devices with their

strobe pins tied together (“combined strobe”) or (2) a single memory device (“non-combined strobe”).

Id., ¶¶ 48-49. But Dr. Stone’s emphasis on the origin of the “burst of data strobe signals” is misplaced:

the claims can properly include both “types” of strobe signals. Indeed, Dr. Stone does not contend

that a POSITA would not be able to identify any of the “burst of data strobe signals” in Figs. 7 and

19 of the ’215 patent. Id. To the contrary, at deposition, Dr. Stone agreed that what is labelled in the

red box above in Fig. 6A is a “series of data strobes:”

        Q. And you see what I've drawn here in this red box?
        A. I -- I have to -- I'm looking at my own copy. So let me know -- see what we're
        looking at. Is it on the screen?
        Q. Yes.
        A. I have to bring that up. Okay. I got it. I see a red box.
        Q. This is a series of data strobes; is that correct?
        A That's correct.

Ex. 4, 81:6-16; 82:4-7 (marking Ex. 12). The specification also makes clear that the claims cover both

combined and non-combined strobe signals. For example, Fig. 7 of the ’417 patent shows three

different data strobe signal lines—one for strobe a, one for strobe b, and one for combined strobe. A

POSITA would understand that the term “burst of data strobes” is correctly applied to each of those

signal lines using the same meaning—expressly as shown in Fig. 7.

IX.     “operable in a computer system to communicate data” (’215, claim 1; ’417, claim 1)

        Defendants argue this term should be construed to mean “configured in a computer system

to communicate data.” During meet and confer, the sole basis Defendants provided for replacing

“operable” with “configured” was this Court’s decision in TQ Delta, LLC v. CommScope Holding Co.,

Inc., 2022 WL 2071073 (E.D. Tex. June 8, 2022), where, in the context of different patents, the Court

construed “operable” as “configured.” Id. at *9-10. Tellingly, neither Micron nor Samsung explained

what it meant for a memory module to be “configured” in a computer system to communicate data,



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e.g., whether under their construction the device has to be taken out of the box and configured by

end users to infringe. Id. at *10 (emphasizing that “[a]t the June 1, 2022 hearing, Defendants stated

that they will not argue that Plaintiff must prove that the accused devices are taken out of their

packaging, plugged in, and turned on”). Defendants’ nebulous construction should be rejected.

        The claims differentiate between “operable” on the one hand and “configured” on the other

hand. For example, claim 1 of the ’215 patent uses “operable” in describing the communication

between the memory module and the computer system, and “configured” when describing certain

attribute of the memory module:

        1. A memory module operable in a computer system . . . , the memory module
        comprising:

        a printed circuit board having a plurality of edge connections configured to be
        electrically coupled to a corresponding plurality of contacts of a module slot of the
        computer system;

        a register coupled to the printed circuit board and configured to receive and buffer
        first command and address signals . . . ;

        logic coupled to the buffer and configured to respond . . . .

Ex. 2 (’215), 37:13-62. Claim 1 of the ’417 patent likewise distinguishes between “operable” and

“configured.” Compare Ex. 3 (’417), 42:7, with 42:14, 51. The inventors clearly knew how to draft claims

requiring memory modules to be “configured” in a particular way. “Different claim terms are

presumed to have different meanings.” Bd. Of Regents of the Univ. of Tex. Sys. v. BENQ Am. Corp., 533

F.3d 1362, 1371 (Fed. Cir. 2008) (citations omitted). Neither Samsung nor Micron have provided any

justification to depart from this principle and redraft “operable” to mean “configured.”

        TQ Delta is inapposite. In that case, the concern was whether the plaintiff’s construction of

“operable” was overbroad because it potentially encompassed scenarios where the claimed

functionality required modification by the accused infringer. 2022 WL 2071073 at *9 (“Plaintiff's

proposals of ‘capable’ and ‘capable to’ are therefore potentially overbroad because ‘capable’ might be



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interpreted broadly as allowing for an ability that arises after modification.”). That concern is not

present here. A POSITA would understand that memory modules are designed to communicate data

with a memory controller of the computer system via a memory bus without modifications. See., e.g.,

Ex. 2 (’215), 1:49-53 (“[M]emory modules are typically mounted in a memory slot or socket of a

computer system (e.g., a server system or a personal computer) and are accessed by the processor of

the computer system.”); 5:18-21 (Fig. 1 illustrating that “memory module 10 is connectable to

a memory controller 20 of a computer system”); 7:5-13 (Fig. 2 illustrating that “[t]he common DQ

line 112 and the common DQS line 114 are electrically coupled to the memory controller 20 of the

computer system”). Micron’s expert also acknowledges this. Ex. 5 (Stone Decl.), ¶ 24 (“A computer

basically consists of an instruction processing unit, which obtains instructions and data from a

computer memory . . . .”); id., ¶ 21. Dr. Stone further testified that “the modules in these patents are

directed to modules that can -- are -- are in computer systems and can interact with the computer

system.” Ex. 4, 33:12-19. Thus, there is no ambiguity regarding what “operable” means in the context

of the ’215 and ’417 patents, and Defendants’ attempt to redraft the claims should be rejected.

X.      “data buffer control signals” (’417, claims 1, 3, 11)

        As with Samsung’s proposed constructions for “logic” and “circuitry” (sections V.B and VI.B),

Samsung here again attempts to import an additional 50+ words into the plain language of the claim.

See Dkt. 94-2 at 12-13. This would exclude preferred embodiments, such as Figs. 8A and 8B. Thus,

for the same reasons as above, Samsung’s construction should be rejected. Supra, 18-20.

XI.     “overall CAS latency” / “actual operational CAS latency” (’417, claim 1; ’215 claims 3,
        4, 24, 25)

        Netlist and Samsung agree that these terms should be interpreted according to their plain and

ordinary meaning. Micron, relying solely on extrinsic evidence, seeks to construe “overall CAS latency

of the memory module” to mean “the delay between: (1) the time when a read command is executed




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by the memory module, and (2) the time when the first piece of data is made available at an output of

the memory module.” See Ex. 5, ¶¶ 43-45 (relying solely on extrinsic evidence). Micron’s construction

of “overall CAS latency of the memory module” would improperly narrow the term to encompass

read commands only, as would Micron’s construction of the “actual operational CAS latency” terms.

        First, the language of the claims supports constructions that include both read and write

commands. Claim 1 of the ’417 patent is expressly directed to both “read or write memory commands”

and further states that “data transfers through the circuitry are registered for an amount of time delay

such that the overall CAS latency of the memory module is greater than an actual operational CAS

latency of each of the memory devices.” Ex. 3 (’417), 42:9-11, 42:63-37. Similarly, claim 1 of the ’215

patent is directed to first memory command and second memory commands that respectively “cause

the memory module to receive or output a [first or second] data burst.” Ex. 2 (’215), 37:16-22.

        Second, the specifications of the ’215 and ’417 patents support Netlist’s constructions including

both read and write commands. For example, the specification teaches that “[t]he one-cycle time delay

of certain such embodiments provides sufficient time for read and write data transfers to provide

the functions of the data path multiplexer/demultiplexer.” Ex. 2 (’215), 20:39-42; Ex. 3 (’417), 22:53-

56. Dr. Stone admitted that this passage indicates that CAS latency relates to read or write commands.

Ex. 4, 76:16-18 (“Q. This passage is indicating that CAS latency can relate to both read and write data

transfers? A. That's correct.”). The specification also describes “data transfers between the memory

controller and the memory module,” and not just transfers from the memory module to the memory

controller. Ex. 2 (’215), 20:27-29; Ex. 3 (’417), 22:41-43; see also Verilog code (both read and write). A

POSITA would understand the “between” language, which specifies bidirectional data transfers, as

referring to both read and write commands. Micron’s proposals exclude these disclosed embodiments

and should therefore be rejected. Kaufman, 34 F.4th at 1372 (a claim construction that excludes

preferred embodiments is “rarely, if ever, correct”).



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        Finally, Micron attempts to narrow these terms without demonstrating a clear disavowal of

claim scope. Micron’s expert relies exclusively on the DDR standards to argue that the disputed CAS

latency terms must exclude write operations. Ex. 5 (Stone Decl.), ¶¶ 43-45. This is inappropriate

because the claims recite “overall CAS latency” and “actual operational CAS latency,” terms that are used

and explained in the ’215 and ’417 patents, but not defined by the JEDEC standards. Furthermore,

the DDR2 standard, which is repeatedly referenced in the ’215 and ’417 patent specifications, actually

undermines Micron’s construction of the disputed CAS latency terms. For example, in the DDR2

standard, both the read latency (RL) and the write latency (WL) depend on the CAS latency (CL) as

well as AL. Ex. 8 (JESD79-2) at 24 (defining the following relationship: WL = RL - 1 = AL + CL –

1). In IPR, Micron admits that CAS latencies defined in the DDR2 standard JESD79-2 are for read

and write commands. See Ex. 27 (Petition, IPR2023-01142) at p. 20 (“JESD79-2 also describes CAS

latencies and adding additional clock cycles of latency when executing read and write commands.”).

Thus, even the cited standards do not support Micron's narrow construction.

        Micron also contends that the term “wherein data transfers through the circuitry are registered

for an amount of time delay such that the overall CAS latency of the memory module is greater than

an actual operational CAS latency of each of the memory devices” in ’417 claim 1 is indefinite. Dkt.

94-3 at 67-68. Micron’s indefiniteness argument is apparently premised on its incorrect construction

of the “CAS latency” terms, and should be rejected. Micron’s expert offered no opinion as to whether

this term is indefinite. See generally Ex. 5. Moreover, as discussed above, a POSITA would have no

difficulty understanding the terms “overall CAS latency” and “actual operational CAS latency.” Supra,

29-30. Nor is it a mixed method-apparatus term. See Gesture Tech. Partners, LLC v. Huawei Device Co.,

2021 WL 4760632, at *23 (E.D. Tex. Oct. 12, 2021) (claim not indefinite as mixed method-apparatus

claim where “[t]he disputed term relates to configuration of the recited first camera rather than, for

example, any user action or any action performed by or on the camera”).



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Dated: August 24, 2023              Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served on Samsung’s counsel

through the Court’s CM/ECF system on August 24, 2023.

                                                  /s/ Jason Sheasby
                                                  Jason Sheasby
